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Applican 3 Attorney in con ultation with

Prior to

notifies the County that it is unable to timely secure the
required right-of-way at fair market value, the County shall,
after verifying the landowners’ rejection of applicant's
bonatide offer to purchase the required property interests at a
price established by a County approved appraiser for
condemnation appraisals, shall acquire the land or right-of-
way through negotiation or eminent domain. Applicant shall
fund the cost of the County's acquisition and related court
proceedings. (Public Works)

PWSP0049 — STORM WATER DRAINAGE Applicant’s
The drainage swales and pond Numbers 1, 2, 3, 4, 5,6, 6A, 8, | the County Counsel shall prepare, Attomey Issuance
9, 10, 11, 12, and 13 located within and adjacent to the Golf —_| execute, and record an Agreement for ofa
Course area as shown on the Butterfly Village Vesting acceptance, use, operation, and Grading
Tentative Map Iilustrative Phasing Plan dated June 11,2004 | maintenance of the storm water swales Permit or
by Bestor Engineers shall be maintained by the Golf Course —_{ and ponds listed in this condition. Recordat
property owner. Prepare, execute, and record an agreement ion of
subject to the approval of the Directors of Public Works, Final
Planning and Building Inspection, and the Water Resources Map
Agency for acceptance, use, operation, and maintenance of (whichev
the storm water swales and ponds. (Public Works) fr a
‘irst).
135. PWS5P0050 — STREETS AND ROADS (STIRLING Applicant shall provide bonds and Applicant Prior to
ROAD) construct Stirling Road extension. Issuance
Applicant shall construct project access improvements on of
Stirling Road from the development site to its intersection Building
with San Juan Grade Road. In the event that the applicant Permit

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PWSP8051 — STREETS AND ROADS (STIRLING

Applicant shall provide bonds and

shall operate at acceptable levels of service. (Public Works)

Applicant Complet
ROAD construct intersection improvements and ed as
Applicant shall install traffic signa! at Stirling Road/San Juan | install traffic signal at Stirling Road/San Part of
Grade Road. Intersection shall operate at acceptable levels of | Juan Grade Road. Phase I
service, (Public Works} Improve
ments.

137. PWSP0052 - STREETS AND ROADS (NORTHWEST Applicant shall provide bands and Applicant Prior to

ACCESS) construct northwest access road. Issuance
Applicant shall construct northwest project access between of

the development site and its intersection with Harrison Road. Building
In the event that the applicant notifies the County that it is Permit
unable to timely secure the required right-of-way at fair

market value, the County shall, after verifying the

landowners’ rejection of applicant's bonafide offer to

purchase the required property interests at a price established

by a County approved appraiser for condemnation appraisals,

shall acquire the land or right-of-way through negotiation or

eminent domain. Applicant shat! fund the cost of the County‘s

acquisition and related court proceedings,

(Public Works)

138. PWSP0053 — STREETS AND ROADS (NORTHWEST Applicant shall provide bonds and Applicant To Be
ACCESS) construct intersection improvements and Determin
Applicant shall install traffic signal at the intersection of install traffic signal at Northwest ed by
northwest access road and Harrison Road, when warrants are | Access/Harrison Road. Public
met and subject to the Public Works Director. Intersection Works

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PWSP0054 — STREETS AND ROADS (EMERGENCY

| Applicant sh provide nds and

Prior to

tecommended traffic control devices, pavement markings, and
street name signs in the improvement plans in accordance
with the County’s standards.

Applicant
ACCESS) construct emergency access roads. Issuance
Applicant shall construct emergency access roads from of .
Northwest Access to Purple Wing Circle as well as the Building
connection to Hebert Road for emergency service providers in Permit
accordance with the Fire Departments standards and shall
acquire legal access/easement trom property owners, In the
event that the applicant notifies the County that it is unable to
timely secure the required right-of-way at fair market value,
the County shall, after verifying the landowners’ rejection of
applicant’s bonafide offer to purchase the required property
interests at a price established by a County approved appraiser
for condemnation appraisals, shall acquire the land or right-
of-way through negotiation or eminent domain. Applicant
shall fund the cost of the County's acquisition and related
court proceedings. (Public Works)

140. PWSP0055 ~- STREETS AND ROADS - ON-SITE Applicant shall dedicate to the County or [Applicant Prior to
Applicant shall dedicate to the County or CSD all public CSD rights-of-way for all on-site traffic Recordat
right-of-way for all On-Site Traffic Improvements. (Public improvements. ion of
Works} Final

Map

141, PWSP0058 - STREET AND ROADS Applicant's Engineer to provide written |Applicant’s Prior to
Provide a written report with recommendations for report. Engineer" Recordat
appropriate traffic contro] devices by a registered Professional ion of
Engineer in Traffic Engineering of the improvement plans Final
subject to the approval of DPW. Include the installation of Map

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(Public Works*

142. PWSPU059 —- STREET AND ROADS Applicant's Attorney, at applicant's Applicant’s Prior to
Applicant shall cooperate with County Counsel in the expense, shal provide assistance at the [Attorney Notice of
preparation of ordinances for traffic control on streets and request of County Counsel in the Completi
roads in Butterfly Village. (Public Works) preparation of ordinances. on

143, PWSP0060 —STREET AND ROADS Applicant shall provide bonds or letter of (Applicant/Appl | Prior to
Applicant shall enter into an agreement to fund any short fall | credit. Applicant's Attorney in icant's Recordat
in assessments necessary to slurry seal all public streets and | Consultation with County Counsel shall (Attorney ion of
pavement areas seven years after final acceptance. The prepare agreement. Final
Agreement shall provide for bonding as necessary. Where Map
applicant is required ta provide security by the conditions of
this Combined Development Permit, applicant shall provide
improvement security in the form of a one hundred percent
(100%) performance, labor and materials bond or a one
hundred percent (100%) letter of credit, {Public Works)

144. PWSP0061 ~STREET AND ROADS Applicant's Engineer shall provide Applicant's Prior to
The improvement plans shall include a streetlight schedule for | streetlight schedule, identify locations [Engineer Recardat
the road system identifying locations and proposed lighting and proposed lighting intensities, ion of
intensities. Lighting requirements shall meet lighting Final
standards acceptable to the DPW, (Public Works) Map

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"PWSP0062 — TRANSIT FACILITIES

| Applicant shall design transit facilities

Applicant

Prior to

the Specific Plan and mecting CRWQCB, CDHS, and
Building Code requirements for production of recycled water
subject to the review and approval of the Directors of
Environmental Health, Public Works, and Planning and
Building inspection. The design shall allow for incremental

treatment facility for Butterfly Village.

Applicant shall design transit facilities in accordance with the | and dedicate to the appropriate entity Recordat
design guidelines presented in MST’s “Designing for Transit” | upon completion. fon of
handbook and shall dedicate such facilities to the appropriate Final
entity. Transit facilities shall be included in improvement Map and
plans and reviewed and approved by the appropriate entities, dedicate
(Public Works) upon
completi
on of
improve
ments

146. PWSP0063 — UTILITY EASEMENTS Applicant’s Engineer shall show Applicant's Prior to
Dedicate all public utility easements for al] water system easements and rights-of-way on Final Bagineer Recordat
improvements and sanitary sewers, pump stations, wastewater | Map for all water system improvements ion of
treatment facilities, and disposal facilities to provide for and sanitary sewers, pump stations, Each
operation, maintenance, replacement, or improvement of the | wastewater treatment facilities, and Final
facilities. Each Final Map shall provide that ali storm water _| disposal facilities located in easements or Map
drainage facilities be located within roadway right-of-way or | fee parcels.
drainage easements. (Public Works)

147, PWSP0064 - WASTEWATER TREATMENT Applicant shall submit design, prepare Applicant Prior to
FACILITIES improvement plans and specifications, Recorcat
Complete design, prepare improvement plans and for approval of and shall obtain ion of
specifications, obtain appropriate permits, and construct a appropriate permits, provide bonding and Final
permanent wastewater treatment facility meeting capacity per | construct a phased permanent wastewater Map

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increases in treatment capacity on the treatment plant site as
appropriate for the various elements of the Rancho San Juan
Specific Plan area. The facilities are not timited to the
following, but shall include three-day emergency influent
storage, equalization facilities, 120-day lined effluent storage
divided between the golf course and the wastewater treatment
facility, and appropriate monitoring wells and other
improvements as required by the regulatory agencies for the
Buiterfly Village Project. Recycled water storage ponds on
the golf course do not require fencing, but shall be posted per
Title 22 requirements,

Design and construction shall be completed under the
supervision of a registered California Professional Engineer in
Civil Engineering. Said engineer shall certify the sites and all
facilities for seismic stability as well as completion of the
work in accordance with the approved improvement plans,
specifications, and approved change orders. The following
shall be incorporated inta the wastewater treatment facilities:
1, Standby generators
2. Standardized and appropriate redundant pumps
3. Flow equalization sized for Rancho San Juan
Specific Plan area
4. 3-Day emergency storage sized for Rancho San Juan
Specific Plan area

5. 120-Day lined storage of effluent from the HYH
development

6._Appropriate monitoring systems and alarms

Applicant’s Engineer shall certify the
sites and all facilities for seismic stability
as well as completion of the work in
accordance with the approved
improvement plans, specifications, and
approved change orders.

Applicant's
Engineer

On-going

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(Environmental Health, Public Works and Planning and
Building Inspection)

regulated company that provides for acceptance, operation,
and maintenance in perpetuity of the wastewater treatment
facilities to include the treatment plant and storage facilities.
(Public Works)

148. PWSP0065 — WASTEWATER TREATMENT Applicant’s Attorney in consultation with |Applicant’s Prior to
FACILITIES County Counsel shall prepare agreement. |Attorney Recordat
Prepare and execute an agreement subject to the approval of ion of
the Public Works Director and County Counsel that Final
reimburses the developer for fair share proportionate costs for Map
the design and construction of those elements of the
wastewater treatment plant facilities required to accommodate
areas outside of Butterfly Village in Rancho San Juan (Public
Works)

149. PWSP0066 — WASTEWATER TREATMENT Applicant’s Attorney in consultation with [Applicant’s Prior to
FACILITIES ° County Counsel shall develop, execute, [Attorney/Appli | Recordat
Develop, execute, and provide an agreement subject to the and provide agreement. In addition, cant ion of
approval of the Public Works Director and County Counsel _—| Applicant shall provide bonds. Final
with a California Public Utility Commission (CPUC) Map

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PWSP0067 —- WASTEWATER TREATMENT Applicant shall construct wastewater Applicant rior to
FACILITIES treatment plant in accordance with the Occupan
Any facility which requires use of the wastewater sewers or —_| Plan, specifications, and approved cy
treatment plant shall not be occupied until the treatment plant | change orders. An independent engineer
and collection system has been successfully tested approved by the County shall certify that
hydrautically, certified to have been constructed in accordance | the treatment plant anid collection system
with the plan, specifications, and approved change orders, and | have been completed in accordance with
successfully test operated meeting all requirements. the pian, specifications, and approved
(Public Works) change orders, and successfully test

operated meeting all requirements.

151. PWSP0068 - WASTEWATER TREATMENT Applicant shall obtain CPUC approved — [Applicant Prior to
FACILITIES fee schedule. issuance
Obtain and provide a CPUC approved fee schedule tor of
wastewater services to include treatment and collection building
activities, permit
(Public Works)

152. PWSP0069 —- WASTEWATER TREATMENT Applicant shall design, install and Applicant Prior to
FACILITIES maintain landscaping to screen the Occupan
The wastewater treatment plant site shall be landscaped and ‘| wastewater treatment plant. The cy
screened from existing sites of public viewing including Applicant shall maintain the tandscaping
Highway 101. (Planning and Building Inspection) in perpetuity,

153. PWSP0070 — WASTEWATER COLLECTION SYSTEM | Applicant's Engineer shall complete Applicant's Prior to
Complete design in phases, prepare improvement plans and _—| design in phases, prepare improvement Engineer/Appli_ | Recordat
specifications, obtain appropriate permits, and construct a Plans and specifications, obtain cant ion of
wastewater collection system to Include manholes, mains, appropriate permits, and construct a Final
pump stations, and cleanouts within Butterfly Village meeting | wastewater collections system to include Map
CRWQCB requirements and subject to the approval of the manholes, mains, pump stations, and
Directors of Environmental Health and Public Works. The _{ cleanouts. In addition, Applicant shall

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design shall acco date the full build out of the Rancho
San Juan Specific Plan area. Design and construction shall be
completed under the supervision of a registered California
Professional Engineer in Civil Engincering. Said Engineer
shall certify that all facilities have been completed in
accordance with the improvement plans, specifications, and
approved change orders. The following shall be incorporated
into the wastewater collection system design:
1. Standby Generators at afl pump stations
2. Standardized and redundant wastewater pumps
3. Enlarged collection facilities to allow for connection
of the various elements of the Rancho San Juan
Specific Plan to the treatment facilities
4. Appropriate monitoring systems with alarms
(Environmental Health and Public Works)

| provide bonds.

future development within the Rancho San Juan Specific Plan
area. (Public Werks)

154. PWSP0071 —- WASTEWATER COLLECTION SYSTEM. | Applicant's Attorney in consultation with |Applicant’s Prior to
Prepare and execute an agreement subject to the approval of | County Counsel shall prepare and Attorney Recordat
the Public Works Director and County Counsel that execute an Agreement. ion of
reimburses the deveioper for fair share proportionate costs of Final
enlarged wastewater treatment and conveyance facilities from Map

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PWSP0072 —-WASTEWATER COLLECTION SYSTEM | Applicant's Engineer shall prepare a Applicant's Prior to
Prepare a wastewater collection system management plan Wastewater Collection System Engineer Recordat
mecting CRWQCB requirements subject to the approval by Management Plan. ion of
the Directors of Environmental Health and Public Works. Final
{Public Works) Map

156. PWSP0073 — WASTEWATER COLLECTION SYSTEM | Applicant’s Attorney in consultation with [Applicant's Prior to
Develop, execute, and provide an agreement for acceptance, | County Counsel shall develop, execute, {Attorney Recordat
operation, and maintenance of the wastewater collection and provide an agreement for acceptance, ion of
system by a CPUC regulated company in accordance with the | operation, and maintenance of the Final
management plan subject to the approval of County Counsel | wastewater collection system. Map
and the Directors of Environmental Health and Public Works.

{Public Works}

157, PWSP0074 —-WASTEWATER COLLECTION SYSTEM Applicant's Attorney in consultation with |Applicant’s Prior to
Develop, execute, and provide a franchise agreement with the | County Counsel shall develop, execute, {Attorney Recordat
County of Monterey subject to the approval of the Director of | and provide a franchise agreement. ion of
Public Works and County Counsel for all wastewater Final
collections systems facilities within the public road right of Map
way. (Public Works)

158. PWSP0075 — WASTEWATER COLLECTION SYSTEM | Appficant’s Engineer or Landscape Applicant's Prior to
All pump stations shail be fenced for security purposes, have | Architect shall design and applicant shall [Engineer/Appli | Occupan
paved accesses, and be landscaped in accordance with fence pump station, construct paved cant’s cy
community design. (Public Works) accesses, and provide landscaping prior (Landscape

to occupancy. Architect

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PWSP0076 —- WATER SYSTEM FACILITIES

Complete design, prepare improvement plans and
specifications, obtain appropriate permits, and construct
permanent water system facilities to include mains, pump
stations, and storage facilities meeting CDHS requirements
and subject to the approval of the Directors of Environmental
Health and Public Works. The design shall accommodate the
full build out of the Rancho San Juan Specific Plan area.
Design and construction shall be completed under the
supervision of a registered California Professional Engineer in
Civil Engineering. Said Engineer shalt certify that all
facilities have been completed in accordance with the
improvement plans, specifications, and approved change
orders. The following shal! be incorporated into the
wastewater collection system:

1. Standby Generators

2.‘ Standardized and redundant pumps

3. Enlarged distribution facilities to allow for
connection of the various elements of the Rancho
San Juan Specific Plan
4, Appropriate monitoring systems with alarms
(Public Works and Environmental Health)

Applicant's Engineer shall complete
design, prepare improverent plans and
specifications, obtain appropriate
permits, and construct permanent water
system facilities to include mains, pump
stations, and storage facilities. In
addition, Applicant shall provide bonds.

Applicant's
Engineer/Appli
cant

Prior ta
Recordat
ion of
Final
Map

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0.

PWSP0077 — WATER SYSTEM FACILITIES

Develop, execute, and provide an agreement subject to the
approval of the Directors of Environmental Health, Public
Works and County Counsel from a CPUC regulated Company
that provides for acceptance, operation and maintenance in
perpetuity of the water system to include wells, pumps,

Applicant’s Attorney in consultation with
County Counsei shall develop, execute,
and provide an agreement.

Applicant’s
Attorney

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storage, treatment and distribution facilities, Sa agreement
shall provide for enforcement of mitigations 5.10-1f and 5.10-
Ig. (Public Works and Environmental Health)

DPW, and construct the appropriate device at the following
intersections:

* Blue Copper Drive/Butterfly Boulevard
* Butterfly Drive/Spring White Drive (west end)

161, PWSP0078 ~ WATER SYSTEM FACILITIES Applicant's Attorney in consultation with |Applicant’s Prior to
Develop, execute, and provide a franchise agreement with the | County Counsel shall develop, execute, |Attorney Issuance
County of Monterey subject to the approval of the Director of | and provide a franchise agreement. of
Public Works and County Counsel for all water facilities Building
located within public roads right of way. (Public Werks) Permit
162. PWSP0079 — WATER SYSTEM FACILITIES Applicant shall obtain CPUC approved [Applicant Prior to
Obtain and provide a fee schedule for water service approved | fee schedule. Issuance
by the California Public Utility Commission (CPUC). (Public of
Works) Building
Permit
Recordat
ion of
Final
Map
163. PWSP0080 - TRAFFIC CALMING DEVICES - Applicant’s Engineer shall show Applicant's Prior to
ROUNDABOUTS appropriate traffic calming devices on the |Engineer/Appli | Recordat
Show roundabouts, traffic circles, or other traffic calming subdivision improvement plans. cant ion of
devices including raised curbs and landscaping, on the Applicant shall construct the appropriate Final
subdivision improvement plans, subject to the approval of the | device as listed in this condition, Map

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Blue Copper Drive/Purple Wing Drive
Alexander Street/Isabella Drive
Emily Drive/Alternate Northwest Access

Butterfly Boulevard northwesterly of Stirling Read
as shown on the VTM

* Jasmine Drive/Cameron Drive
« Enily Street/Camila Street
(Public Works) ,

164, NORTH COUNTY FIRE PROTECTION DISTRICT Adhere to fire conditions and mitigations [Applicant On-going
All projects within the subdivision shall comply with the set forth in approval.
adopted Uniform Fire Code. (North County Fire Protection
District)

165..- NORTH COUNTY FIRE PROTECTION DISTRICT Applicant shall incorporate specification |Applicant Prior to
That the plans for the access roadways and water system, into design and enumerate as “Fire Dept. issuance
including fire mains and hydrants be submitted to and Note” on plans, ofa
approved by the North County Fire District prior to Building
construction of combustible materials. (North County Fire : Applicant Permit or
Protection District) appncant inspection for each oe of Recordat

development ion of
Final
Map
(whichev
er comes
first).

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NORTH COUNTY FIRE PROTECTION DISTRICT

Applicant shall incorporate specification |Applicant Prior to
All roads shali be consistent with the Vesting Tentative into design and enumerate as “Fire Dept. Issuance
Subdivision Map dated June [1, 2004. (North County Fire | Note” on plans, ofa
Protection District) Building
Applicant shall schedule fire dept. Applicant Permit or
clearance inspection for each phase of Recordat
development ion of
Final
Map
(whichev
er comes
first).
167, NORTH COUNTY FIRE PROTECTION DISTRICT Applicant shall incorporate specification [Applicant Prior ta
Road Access- Access roads shall be required for every into design and enumerate as “Fire Dept. Issuance
building when any portion of the exterior wall of the first Note” on plans. of
story is located more than 150 feet from fire department Building
access, The designing of buildable lots shall take this ‘ Applicant Permit
recommendation into consideration. (North County Fire clouranva inepection fork since of
Protection District} development
168. NORTH COUNTY FIRE PROTECTION DISTRICT Appticant shall incorporate specification {Applicant Prior to
Roadway Surface — The roadway surface shall provide into design and enumerate as “Fire Dept. Issuance
unobstructed access to conventional drive vehicles, including | Note” on plans. ofa
sedans and fire engines, Surfaces should be established in Building
conformance with local ordinances, and be capable of : ‘Applicant Permit or
supporting the imposed load of fire apparatus. (North aeons naaien nea Oheke of Recordat
Connty Fire Protection District) , development ion of
Final
Map
(whichey

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er comes

first).
169. NORTH COUNTY FIRE PROTECTION DISTRICT Applicant shall incorporate specification {Applicant Prior to
Roadway Radius — No roadway tum shall have a horizontal into design and snumerate as “Fire Dept. Issuance
inside radius of less than 50 feet. A roadway turn radius of 50 | Note” on plans. ofa
to 100 feet is required to have an additional 4 feet of roadway Building
surface. A roadway turn radius of 100 to 200 fect is required : Applicant Penmnit or
to have an additional 2 feet of roadway surface. (North Applicant aeecien eee Tloue of Recordat
Couaty Fire Protection District) development lon of
Final
Map
(whichev
er comes
first).
170, NORTH COUNTY FIRE PROTECTION DISTRICT Applicant shali incorporate specification [Applicant Prior to
Roadway Radius — Curves - The length of vertical curves in into design and enumerate as “Fire Dept. Issuance
roadways, exclusive of gutters, ditches, and structures Note” on plans. ofa
designed to hold or divert water, shall not be Jess than 100 Building
feet. (North County Fire Protection District) Applicant shall schedule fire dept. Applicant Permit or
clearance inspection for each phase of Recordat
development jon of
Final
Map
(whichey
er comes

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first).

171.

NORTH COUNTY FIRE FROTECTION DISTRICT
Gate Entrances — Where gates are to be locked, the Reviewing
Authority having jurisdiction may require installation of a key
box or other acceptable means to immediate access for
emergency equipment. (North County Fire Protection
District)

Applicant shall instal! devices if required
by Fire District

Applicant

Prior to
Issuance
ofa
Building
Permit or
Recordat
ion of
Final
Map
(whichev
er comes
first).

172.

NORTH COUNTY FIRE PROTECTION DISTRICT
Vertical clearance — Unobstructed vertical clearance shall not
be less than 15 feet for all access roads. (North County Fire
Protection District)

Applicant shal] incorporate specification
into design and enumerate as “Fire Dept,
Note” on plans,

Applicant shall schedule fire dept.
clearance inspection for each phase of

| development

Applicant

Applicant

Prior to
Issuance
of a
Building
Permit or
Recordat
ion of
Final
Map
(whichev
er comes
first).

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NORTH COUNTY FIRE PROTECTION DISTRICT

Applicant shall incorporate specification [Applicant Prior to
Signs — Size of Numbers — Size of letters, numbers and into design and enumerate as “Fire Dept. Issuance
symbols for street and road signs shall be a minimum of 4 Note™ on plans. ofa
inch letter height, 4 inch stroke, and shall be a color that Building
clearly contrasts with the background color of the sign. All : Applicant Permit or
numerals shall be Arabic. (North County Fire Protection Applicant inepestion fer ech rinse of Recordat
District} development ion of
Final
Map
(whichev
er comes
first),
174, NORTH COUNTY FIRE PROTECTION DISTRICT Applicant shall incorporate specification [Applicant Prior to
Signs — Visibility — Street and road signs shall be visible and | into design and enumerate as “Fire Dept. Issuance
legible from both directions of vehicle travel for a distance of | Note” on plans. ofa
at least 100 feet. (North County Fire Protection District) . Building
Applicant shall schedule fire dept. [APPlicant Permit or
clearance inspection for each phase of Recortat
development Final
Map
(whichev
er comes
first).
175, NORTH COUNTY FIRE PROTECTION DISTRICT Applicant shall incorporate specification [Applicant Prior to
Signs — Street Names - Newly constructed or approved public | into design and enumerate as “Fire Dept. recordati
and private roads and streets shall be identified in accordance | Note” on plans. on of
with provision of Monterey County Ordinance No. 1241. All fina] map
signs shall be mounted and oriented in a uniform manner. Applicant shall schedule fire dept. Applicant

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(North Coanty Fire Protection District)

clearance inspection for each phase °
development

clearance inspection for cach phase of
development

176, NORTH COUNTY FIRE PROTECTION DISTRICT Applicant shall incorporate specification {Applicant Prior to
Signs — Intersecting Roads — Signs identifying intersecting into design and enumerate as “Fire Dept. Issuance
roads, streets and private lanes shall be placed at the Note” on plans, ofa
intersections of those roads, streets and/or private lanes. Building
(North County Fire Protection District) Applicant shall schedule fire dept. Applicant Permit or

clearance inspection for each phase of Recordat

development ion of
Final
Map
(whichey
er comes
first).

177. NORTH COUNTY FIRE PROTECTION DISTRICT Applicant shall incorporate specification |Applicant Prior to
Signs — Installations — Road, street and private signs required | into design and enumerate as “Fire Dept. recordati
by this article shall be installed prior to final acceptance of Note* on plans. on of
toad improvements by the County of Monterey, (North Final
County Fire Protection District} Applicant shal] schedule fire dept. Applicant Map

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NORTH COUNTY FIRE PROTECTION DISTRICT

Applicant shall incorporate specification [Applicant Prior to
Signs — Multiple addresses — Where multiple addresses are into design and enumerate as “Fire Dept. issuance
required at a single driveway, they shall be mounted on a Note” on plans. of
single post, or in any fashion approved by the Reviewing Building
Authority that provides for the same practical effect. (North Applicant shall schedule fire dept, LA pplicant Permit
County Fire Protection District) clearance inspection for each phase of
development
179, NORTH COUNTY FIRE PROTECTION DISTRICT Applicant shall incorporate specification [Applicant Prior to
Signs + Commercial — Where a roadway provides access into design and enumerate as “Fire Dept. issuance
solely to a single commercial or industrial business, the Note” on plans, of
address sign shall be placed at the nearest road intersection Building
providing access to the site. (North County Fire Protection Applicant shall schedule fire dept. Applicant Permit
District) clearance inspection for each phase of
development
180, NORTH COUNTY FIRE PROTECTION DISTRICT Applicant shall incorporate specification {Applicant Prior to
Hydrant Location — Hydrant locations shall be submitted to into design and enumerate as “Fire Dept. issuance
and approved by the North County Fire District. The height of | Note” on plans. of
the fire hydrant valve shall be 18 inches above grade, 8 feet Building
from flammable vegetation, no further than 2 feet from a Applicant shall schedule fire dept. Applicant Permit
roadway, and in a location where fire apparatus using it will clearance inspection for each phase of
not block the roadway. (North County Fire Protection development Pricr to
District) recordati
on of
Final
Map

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NORTH COUNTY FIRE PROTECTION DISTRICT

| Applicant shall incorporate specification

pplicant |

Prior to

Hydrant Censtruction - Minimum hydrant standards shall into design and enumerate as “Fire Dept, issuance
include: Nate” on plans. of
. Building
* A brass head and valve with one 2 '4" and one 4%” : [Applicant Permit
National hose outlet (James Jones mode} 3740 or equal) senanoe inspection for ensh phase of
for single-family residential areas. development Prior to
recordati
+ For multi-residential/commercial a hydrant with two 2 on of
%" and 1—4 4" National hose outlet James Jones model Final
3760 or equal). Map
Spacing in residential and commercial areas to conform to
current adopted Uniform Fire Code and/or as required by the
Fire District, (North County Fire Protection District)

182. NORTH COUNTY FIRE PROTECTION DISTRICT Applicant shall incorporate specification [Applicant Prior to
Hydrant markings — A reflectorized blue marker with a into design and enumerate as “Fire Dept, issuance
minimum dimension of 3” shal] be mounted on the street, Note” on plans. of
marking its location. It shall be permanently affixed 6” on the Building
hydrant side of the center of the roadway. (North County Applicant shall schedule fire dept. Applicant Permit
Fire Protection District) clearance inspection for each phase of .

development Prior to
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Map

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NORTH COUNTY FIRE PROTECTION DISTRICT
Harrison Road F/D Access — A roadway connecting Harrison
Rd. to Purple Wing Circle shall provide access to any and all
areas under construction, and shall be in place prior to any
combustibles being placed on site. In the event that the
applicant notifies the County that it is unable to timely secure
at fair market value, the County shall, after verifying the
landowners’ rejection of applicant’s bonafide offer to
purchase the required property interests at a price established
by a County approved appraiser for condemnation appraisals,
shall acquire the land or right-of-way through negotiation ot
eminent domain. Applicant shall fund the cost of the County's
acquisition and related court proceedings. (North County
Fire Protection District) —

Applicant shall incorporate specification
into design and enumerate as “Fire Dept.
Note” on plans.

Applicant shal] schedule fire dept.
clearance inspection for each phase of
development

Applicant

Applicant

Prior to
issuance
of
Building
Permit

184.

NORTH COUNTY FIRE PROTECTION DISTRICT
Emergency Access - The applicant shall provide adequate
vehicle access as required by the Fire District that provides for
evacuation egress to approved standards as required by the
Fire District. (North County Fire Protection District)

Applicant shall incorporate specification
into design and enumerate as “Fire Dept.
Note” on plans.

Applicant shall schedule fire dept.
clearance inspection for each phase of
development

Applicant

Applicant

Prior to
issuance
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Building
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NORTH COUNTY FIRE PROTECTION DISTRICT

Applicant incorporate sp

Applicant

Signs — Alt. Address — Before construction begins, temporary
of permanent address numbers shall be posted. Permanent
address numbers shall be posted prior to requesting final
clearance, AJl address numbers (permanent and temporary)
shall be posted on the property so as to be clearly visible from
the road. Where visibility cannot be provided, a post or sign

Prior to
All Lots shall be designed, at a minimum, to comply with the | into design and enumerate as “Fire Dept. issuance
following criteria: Note” on plans. of
. Building
* Roadway Radius — Driveways — For residential Applicant shall schedule fire dept. Applicant Permit
driveways with tums 90 degrees or less, the minimum clearance inspection for each phase of
horizontal inside turning radius of curvature shall be 25 development Prior ta
feet. For driveways with turns of greater than 90 degrees, recordati
the minimum horizontal inside radius of curvature shall on of
be 28 feet. For all driveway turns, an additional surface Final
of 4 feet shail be added. Map
* Driveways — Driveways shall not be less than 12 feet
wide unobstructed. (North County Fire Protection
District)

186 NORTH COUNTY FIRE PROTECTION DISTRICT Applicant Prior to
* Signs Prior to Final — Road, street, and private signs Issuance
required by this article shall be instailed prior to final ofa
acceptance of road improvements by the Reviewing Fire Building

Authority. (North County Fire Protection District) Permit

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bearing the address numbers shall be set adjacent of the
driveway or access road to the property. Address number
posted shall be Arabic, not Roman er written out in words.
Address numbers posted shal] be a minimum number height
cr 3 inches with a 3/8-inch stroke, and contrasting with the
background colors of the sign, (North County Fire
Protection District)

facilities serving Butterfly Village and Rancho San Juan. The
site shall be free and clear of any deed restrictions precluding
its use for a fire station to serve the North County Fire
Protection District, and shall also be clear of any
encumbrances securing monetary liens other than such
encumbrances as may be imposed by governmental entities in
whose jurisdiction the property is situated.

#188.b “Imposition of Condition Numbers 187 and 188, and

2

187. NORTH COUNTY FIRE PROTECTION DISTRICT Applicant to reach agreement with Fire |Applicant Prior to
The developer shall be assessed and pay those mitigation fees | District Issuance
in effect at the time of issuance of building permits in of
accordance with Chapter 10.80 of County Code, (North Building
County Fire Protection District) Permit

188. NORTH COUNTY FIRE PROTECTION DISTRICT Applicant shall provide proof of the Applicant Prior to
#188.a “ The developer will irrevocably offer to dedicate to offer of dedication Recordat
the North County Fire Protection district fee title to that ion of
certain land specific in Area 16G of the Butterfly Village Final
Vesting Tentative Map for “Fire Station”, to be used for fire Map

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‘Owner's compliance with such conditions, are expressly

conditioned on no special tex, assessment, or other fee for fire
department purposes( other than those identified in Condition
#187) being established or collected as revenue by any
mechanism, including but not limited, to collection from any
community service district encompassing

Owner's lands except on a uniform and District-wide basis,

- (North County Fire Protection District)

registered civil engineer and the monitoring of impacts of
drainage and maintenance of drainage facilities. Report shall
be approved by the County Water Resources Agency. (Water
Resources Agency}

89. NORTH COUNTY FIRE PROTECTION DISTRICT Applicant shall incorporate specification [Applicant Prior to
Install “Opticom” type emergency vehicle traffic signal into design and enumerate as “Fire Dept. issuance
preemption devices on all new traffic signals being installed. | Notes” on plans. of
(North County Fire Protection District) Building

Permit

190. WR0036 HOMEOWNERS ASSOCIATION CC&R'S Submit the CC&R’s to the Water Applicant Prior to
(WR) Resources Agency for review and Filing of
A homeowner’s association, Community Services District approval, Final
(CSD) or comparable entity shall be formed for the Map
maintenance of roads, drainage facilities, and open spaces.

The Director of Public Works, the Director of Planning and

Building Inspection, and the County Water Resources

Agency, prior to filing of final map, shall approve documents

for formation of association. The covenants, conditions and Applicant’s Engineer shall submit an Applicant's

restrictions shall include provisions for an annual report by a annual report. Engineer Annual

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WR0037 DRAINAGE & FLOOD CONTROL SYSTEMS

use plumbing fixtures and drought tolerant landscaping, in
accordance with County Water Resources Agency Ordinance
No, 3932.” Prior to recordation of the final map, a copy the
completed notice shall be provided to the Water Resources

can be obtained at the Water Resources
Agency.)

Applicant Prior to

AGREEMENT (WR) Agreement to the Water Resources Recordat

Ifthe homeowners’ association, Community Services District | Agency for review and approval prior to ion of

(CSD) or comparable entity after notice and hearing fails to recordation, Final

properly maintuin, repair or operate the drainage and flood Map

control facilities in the project, Monterey County Water (A copy of the County's standard

Resources Agency shall be granted the right by the property agreement can be obtained at the Water

owners to enter any and all portions of the property to perform | Resources Agency).

repairs, maintenance or improvernents necessary to properly

operate the drainage and flood control facilities in the project.

The County Water Resources Agency shall have the right to

collect the cost for said repairs, maintenance or improvements

from the property owners upon their property tax bills. A Applicant to record agreement. Applicant

hearing shall be provided by the Board of Supervisors as ta Concurre

the appropriateness of the cost. Prior to filing the final map, a nt with

copy of'a signed and notarized Drainage and Flood Control Recordat

Systems Agreement shall be provided to the Water Resources ion of

Agency for approval. The agreement shall be recorded Final

concurrently with the final map. (Water Resources Agency) Map
192, WR0041 NOTICE OF WATER CONSERVATION Submit a recorded notice to the Water Applicant Prior to

REQUIREMENTS (WR) Resources Agency for review and Recordat

NOTE ON FINAL MAP: A notice shall be recorded on the approyal. ion of

deed for each fot excluding the golf course parcel stating: Final

“All new construction shall incorporate the use of low water {A copy of the County’s standard notice Map

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